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   EXHIBIT A
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                                                                            E-FILED
                                                                            4/25/2022 9:42 AM
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     Attorneys for Plaintiff Taylor Kennedy




                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                   FOR THE COUNTY OF SANTA CLARA
11   TAYLOR KENNEDY,        individually, and        0n    Case   N0322CV397276
     behalf 0f other members 0f the general
12   public similarly situated,                            CLASS ACTION COMPLAINT
13                    Plaintiff,                                           of California Labor Code §§ 510
                                                           (1) Violation
                                                                 and 1198 (Unpaid Overtime);
14           VS.
                                                           (2)   Violation of California Labor Code
15   TROON GOLF, LLC,          a Delaware limited                §§ 1182.12, 1194, 1197, 1197.1, and 1198
     liability   company;   INDIGO SPORTS, LLC,                  (Unpaid   Minimum Wages);
16   a Virginia limited liability company;      OB         (3) Violation    of California Labor Code
     SPORTS GOLF MANAGEMENT, LLC,                    a           §§ 226.7, 512(a), 516, and 1198 (Failure to
17   Delaware limited                company;
                         liability                               Provide Meal Periods);
     TROON RESTAURANT HOLDINGS,                            (4) Violation   of California Labor Code
18   LLC, a Delaware limited liability company;
     and DOES 1 through 10, inclusive,                           §§ 226.7, 516, and 1198 (Failure t0
19                                                               Authorize and Permit Rest Periods);
                                                           (5) Violation   of California Labor Code
20                    Defendants.                                §§ 226(a), 1174(d), and 1198 (Non-
                                                                 Compliant Wage Statements and Failure to
21
                                                                 Maintain Accurate Payroll Records);
                                                           (6) Violation of California Labor      Code §§ 201
22
                                                                 and 202 (Failure   t0   Timely Pay Final
23                                                               Wages Not Timely Paid Upon
                                                                 Termination);
24                                                         (7) Violation 0f California Labor Code § 204
                                                               (Failure t0 Timely Pay Wages During
25                                                               Employment); and
                                                           (8) Violation   0f California Labor Code           §   2802
26                                                               (Unreimbursed Business Expenses)
                                                           (9)   Violation of California Business &
27                                                               Professions   Code §§ 17200,       et seq.
                                                                 (Unlawful Business Practices); and
28



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                                            (10)                                   &
                                                    Violation of California Business
                                                Professions Code §§ 17200, et seq. (Unfair
                                                Business Practices)

                                            Jury Trial Demanded




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                                 CLASS ACTION COMPLAINT
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                Plaintiff Taylor        Kennedy, individually and on behalf of               all   other similarly situated

     individuals, alleges as follows:


                                                JURISDICTION AND VENUE
                1.        This class action       is   brought pursuant to California Code of Civil Procedure

     section 382.        The monetary damages,           penalties,   and   restitution sought     by   Plaintiff   exceed the

     minimal jurisdiction         limits   of the Superior Court and will be established according t0 proof at

     trial.   This Court has jurisdiction over this action pursuant to the California Constitution, Article

     VI, section 10.        The   statutes   under which     this action is   brought d0 not specify any other basis

     for jurisdiction.       Plaintiff’s share     of damages, penalties, and other relief sought in                this action


10   does not exceed $75,000.

11              2.        This Court has jurisdiction over Defendants because Defendants are either

12   citizens        0f California,      have    sufﬁcient    minimum        contacts   in    California,     0r     otherwise

13   intentionally avail themselves 0fthe California market so as to render the exercise ofjurisdiction


14   over them by the California courts consistent With traditional notions 0f fair play and substantial

15   justice.


16              3.        Venue    is   proper in this Court, because Defendants employ persons within the

17   County of Santa Clara, and have violated the requirements 0f the California Labor Code and

18   applicable       Wage Order in this      county Which give       rise to the penalties    sought in this action. Cal.

19   Code     CiV. P. § 393.      Speciﬁcally, Defendants have violated the requirements of the California

20   Labor Code and applicable Wage Order                   in at least four locations Within the          County of Santa

21   Clara, including Defendants’ locations in Palo Alto (1875                       Embarcadero Road, Palo Alto,

22   California 94303); Mountain             View (934 Macon Road, Moffett              Field, California 94035);          and

23   San Jose (1000 Old Quarry Rd, San                 Jose, California     95123 and 5460 Country Club Pkwy, San

24   Jose, California 95138).           Pursuant to California Civil Code of Procedure section 393, venue                    is


25   proper for the recovery of a penalty or forfeiture imposed by statute in the county in which the

26   cause, 0r       some   part 0f the cause, arose.        Because Defendants have employees               in Santa Clara


27   County and        Plaintiff could bring this action to recover penalties in Santa Clara County,                    venue

28   is   proper.

                                                                 Page   1


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                                                        THE PARTIES
              4.      Plaintiff Taylor      Kennedy        is    a resident 0f Santa Rosa, in            Sonoma County,

     California.     Defendants employed Plaintiff as an hourly paid, non-exempt Cook from

     approximately March 2021 to July 2021, and then again from approximately December 2021 t0

     February 2022. During his employment, Plaintiff typically worked nine (9) hours or more per

     day, six (6) days per week, from approximately 10:00 a.m. to 7:00 p.m., 12:00 p.m. t0 9:00 p.m.,

     or 1:00 p.m. to 10:00 p.m. Plaintiff’s primary job duties included, without limitation, opening

     and closing the     restaurant, preparing         and cooking food, keeping the kitchen clean, and putting

     ingredients and supplies away.

10            5.      TROON GOLF, LLC                   was and    is,    upon information and         belief, a   Delaware

11   limited liability company, and at      all      times hereinafter mentioned, an employer whose employees

12   are   engaged throughout     this county, the State         0f California.

13            6.      INDIGO SPORTS, LLC was and                         is,   upon information and     belief, a Virginia


14   limited liability   company and     at all      times hereinafter mentioned, an employer whose employees

15   are   engaged throughout     this county, the State         0f California.

16            7.      OB SPORTS GOLF MANAGEMENT, LLC                                 was and   is,   upon information and

17   belief, a   Delaware limited    liability   company and at all times hereinafter mentioned, an employer

18   Whose employees       are   engaged throughout        this county, the State       of California.

19            8.      TROON RESTAURANT HOLDINGS, LLC                                 was and   is,   upon information and

20   belief, a   Delaware limited    liability   company and at all times hereinafter mentioned, an employer

21   Whose employees       are   engaged throughout        this county, the State       0f California.

22            9.      Plaintiff is   unaware 0f the       true   names 0r capacities 0f the Defendants sued herein

23   under the ﬁctitious names        DOES       1   through 10, but Will seek leave of this Court t0 amend the

24   complaint and serve such ﬁctitiously named Defendants once their names and capacities

25   become known.

26            10.     Plaintiff is   informed and believes, and thereon alleges, that                 DOES   1   through 10

27   were the partners, agents, owners, 0r managers of                     TROON GOLF,         LLC; INDIGO SPORTS,

28   LLC;    OB SPORTS GOLF MANAGEMENT, LLC; and TROON RESTAURANT HOLDINGS,
                                                                 Page 2
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     LLC     at all relevant times.


               11.         Plaintiff     is   informed and believes, and thereon alleges, that each and                       all   of the

     acts   and omissions alleged herein was performed by, 0r                           is   attributable t0,   TROON GOLF, LLC;
     INDIGO          SPORTS,             LLC;         OB    SPORTS          GOLF MANAGEMENT,                         LLC;     TROON
     RESTAURANT HOLDINGS,                            LLC; and/or       DOES       1   through 10 (collectively, “Defendants” 0r

     “TROON          GOLF”), each             acting as the agent, employee, alter ego, and/or joint venturer of, or

     working    in concert With,              each 0f the other co-Defendants and was acting Within the course and

     scope of such agency, employment, joint venture, 0r concerted activity with legal authority t0

     act    0n the   others’ behalf.            The   acts 0f    any and    all       Defendants were in accordance with, and

10   represent, the ofﬁcial policy 0f Defendants.


11             12.         At   all   relevant times, Defendants, and each 0f them, ratiﬁed each and every act

12   or omission complained 0f herein.                     At   all   relevant times, Defendants, and each 0f them, aided

13   and abetted the        acts      and omissions 0f each and           all   the other Defendants in proximately causing

14   the    damages herein         alleged.


15             13.         Plaintiff is         informed and believes, and thereon alleges, that each of said

16   Defendants       is   in   some manner          intentionally, negligently, or otherwise responsible for the acts,


17   omissions, occurrences, and transactions alleged herein.

18             14.         Under California law, Defendants                     are jointly     and severally    liable as   employers

19   for the Violations alleged herein because they                       have each exercised sufﬁcient control over the

20   wages, hours, working conditions, and employment status of Plaintiff and class members. Each

21   Defendant had the power to hire and ﬁre Plaintiff and class members, supervised and controlled

22   their   work schedule and/or                   conditions 0f employment, determined their rate of pay, and

23   maintained their employment records.                         Defendants suffered 0r permitted Plaintiff and class

24   members     t0   work and/or “engaged”                Plaintiff    and class members so as            t0 create a   common-law

25   employment        relationship.           As   joint employers 0f Plaintiff              and class members, Defendants are

26   jointly   and severally           liable for the civil penalties           and    all   other relief available t0 Plaintiff and

27   class   members under             the law.


28             15.         Plaintiff is       informed and believes, and thereon alleges, that                   at all relevant times,


                                                                         Page    3

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     Defendants, and each of them, have acted as joint employers With respect t0 Plaintiff and class

     members because Defendants          have:


                     (a)      jointly exercised meaningful control over the                 work performed by Plaintiff

                              and class members;

                     (b)      jointly exercised meaningful control over Plaintiff’s                   and class members’

                              wages, hours, and working conditions, including the quantity, quality

                              standards, speed, scheduling, and operative details of the tasks performed


                              by    Plaintiff   and   class   members;

                     (c)      jointly required that Plaintiff             and class members perform work which                  is


10                            an integral part 0f Defendants’ businesses; and

11                   (d)      jointly exercised control over Plaintiff              and class members as a matter of

12                            economic     reality in that Plaintiff         and   class   members were dependent 0n

13                            Defendants,       who    shared the power t0 set the wages 0f Plaintiff and class

14                            members and determined                 their   working conditions, and Who jointly

15                            reaped     the     beneﬁts        from the underpayment 0f                their       wages and

16                            noncompliance            with      other     statutory       provisions    governing           their


17                            employment.

18           16.     Plaintiff is   informed and believes, and thereon alleges, that                  at all relevant    times

19   there has existed a unity of interest and ownership                       between Defendants such                that    any

20   individuality and separateness      between the          entities   has ceased.

21           17.     TROON GOLF,                LLC;     INDIGO SPORTS, LLC; OB SPORTS GOLF

22   MANAGEMENT, LLC; TROON RESTAURANT HOLDINGS, LLC; and DOES                                                  1   through 10

23   are therefore alter egos 0f each other.


24           18.     Adherence      to the ﬁction      of the separate existence of Defendants would permit an

25   abuse of the corporate privilege, and would promote injustice by protecting Defendants from

26   liability for the   wrongful acts committed by them the name                  TROON GOLF.
27           19.     Plaintiff further alleges,        upon information and            belief, that   Defendants      TROON
28   GOLF, LLC; INDIGO SPORTS, LLC; OB SPORTS GOLF                                         MANAGEMENT,               LLC; and

                                                                 Page 4
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     TROON RESTAURANT HOLDINGS, LLC                           are alter egos of each other for the following

     I'CﬂSOIlSI



                    (a)   On           the         California           Secretary           of      State’s         website

                          (https://businesssearch.sos.ca.g0V/),                TROON GOLF,          LLC;     OB SPORTS
                          GOLF          MANAGEMENT,                   LLC;      and     TROON           RESTAURANT
                          HOLDINGS, LLC                 share the   same   entity address and/or mailing address


                          0f “15044      N Scottsdale Rd,        Ste. 300, Scottsdale,           AZ, 85254”;

                    (b)   According          t0 their   most recent “Statement 0f Information” forms ﬁled

                          with the California Secretary 0f State,                TROON GOLF,                LLC; INDIGO

10                        SPORTS, LLC; OB SPORTS GOLF                               MANAGEMENT,                   LLC; and

11                        TROON RESTAURANT HOLDINGS, LLC                                     share the      same ofﬁcers

12                        and/or directors, including, but not limited                t0:


13                                i.     Timothy        S.   Schantz,    who   serves as Executive Vice President

14                                           and    Secretary    of     TROON GOLF, LLC                     and    TROON
15                                       RESTAURANT HOLDINGS, LLC;                           and

16                               ii.     Jay       M. McGrath, who         serves as Vice President of             INDIGO

17                                           SPORTS, LLC and Managing Member                          for   OB SPORTS
18                                           GOLF MANAGEMENT, LLC;
19                  (C)   According          t0 their   most recent “Statement 0f Information” forms ﬁled

20                        With the California Secretary of State,                TROON GOLF,                LLC; INDIGO

21                        SPORTS, LLC; OB SPORTS GOLF                               MANAGEMENT,                   LLC; and

22                        TROON RESTAURANT HOLDINGS, LLC                                    share the   same Agent      for


23                        Service 0f Process,           CT   Corporation C0168406; and

24                  (d)   On   information and belief,              TROON GOLF,             LLC; INDIGO SPORTS,

25                        LLC;         OB SPORTS GOLF MANAGEMENT, LLC;                                      and    TROON
26                        RESTAURANT HOLDINGS, LLC                               utilize     the    same       standardized

27                        employment forms and               issue the   same employment           policies.


28   //



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                                             GENERAL ALLEGATIONS
              20.       Defendants represent, manage, and operate a portfolio 0f daily-fee,                      resort,


     private,   and semi-private golf courses, clubs, and other properties nationwide.

              21.       Upon    information and belief, Defendants maintain a single, centralized               Human

     Resources (“HR”) department            at their   company headquarters      in Scottsdale,   Arizona 0r Reston,

     Virginia    Which     is   responsible     for    the   recruiting    and hiring 0f new employees,             and

     communicating and implementing Defendants’ company-wide                       policies, including     timekeeping

     policies and     meal and   rest period policies, t0     employees throughout California.

              22.       In particular, Plaintiff and class        members, 0n information and        belief, received


10   the   same standardized documents and/or written               policies.    Upon   information and belief, the

11   usage of standardized documents and/or written policies, including neW-hire documents,

12   indicate that Defendants dictated policies at the corporate level and                        implemented them

13   company—wide, regardless 0f              their    employees’       assigned locations 0r positions.         Upon

14   information and belief, Defendants set forth uniform policies and procedures in several

15   documents provided         at   an employee’s time 0f hire.

16            23.       Upon     information     and    belief,   Defendants maintain a centralized Payroll

17   department      at their   company headquarters         in Scottsdale,   Arizona 0r Reston, Virginia, Which

18   processes payroll for       all   non-exempt, hourly paid employees working for Defendants                 at their


19   various locations and jobsites in California, including Plaintiff and class members. Based upon

20   information and belief, Defendants issue the same formatted wage statements t0                  all   non-exempt,

21   hourly paid employees in California, irrespective of their work locations.                   Upon     information

22   and   belief,   Defendants process payroll for departing employees in the same manner throughout

23   the State 0f California, regardless 0f the         manner    in   which each employee’s employment ends.

24            24.       Defendants continue t0 employ non-exempt or hourly paid employees in

25   California.


26            25.       Plaintiff is    informed and believes, and thereon alleges, that          at all   times herein

27   mentioned, Defendants were advised by skilled lawyers and other professionals, employees and

28   advisors knowledgeable about California labor and                    wage   law,   employment and personnel

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     practices,     and about the requirements 0f California law.

              26.       Plaintiff is    informed and believes, and thereon alleges, that Plaintiff and class

     members were not paid           for all hours    worked because     all   hours worked were not recorded.

              27.       Plaintiff is   informed and believes, and thereon alleges, that Defendants knew or

     should have      known     that Plaintiff   and class members were entitled            to receive certain     wages   for


     overtime compensation and that they were not receiving certain wages                                    for    overtime

     compensation.

              28.       Plaintiff is   informed and believes, and thereon alleges, that Defendants knew or

     should have      known     that Plaintiff   and class members were entitled            t0 receive at least    minimum

10   wages    for   compensation and that they were not receiving               at least   minimum wages     for   work that

11   was required      t0   be done off-the-clock. In Violation 0f the California Labor Code, Plaintiff and

12   class   members were not paid         at least   minimum wages       for   work done      off-the-clock.


13            29.       Plaintiff is   informed and believes, and thereon alleges, that Defendants knew or

14   should have      known that Plaintiff and class members were               entitled t0   meal periods   in   accordance

15   With the California Labor Code and applicable                   IWC Wage          Order 0r payment 0f one             (1)


16   additional hour 0f        pay   at their regular rates    of pay when they were not provided with timely,

17   uninterrupted, thirty (30) minute meal periods and that Plaintiff and class                      members were not

18   provided with      all   meal periods or payment 0f one       (1) additional     hour of pay    at their regular rates


19   0f pay when they did not receive a timely, uninterrupted, thirty (30) minute meal period.

20            30.       Plaintiff is   informed and believes, and thereon alleges, that Defendants                  knew    0r

21   should have      known that Plaintiff and        class   members were       entitled t0 rest periods in accordance


22   with the California Labor Code and applicable                   IWC Wage          Order 0r payment of one             (1)


23   additional hour 0f pay at their regular rates 0f pay           when they were          not authorized and permitted

24   to take a    compliant rest period. In Violation 0f the California Labor Code, Plaintiff and class

25   members were not authorized and permitted                 t0 take compliant rest periods,       nor did Defendants

26   provide Plaintiff and class members With payment 0f one (1) additional hour of pay                              at their


27   regular rates    ofpay when they were not authorized and permitted to take a compliant rest period.

28            31.       Plaintiff is   informed and believes, and thereon alleges, that Defendants knew 0r

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     should have     known    that Plaintiff      and class members were          entitled to receive     complete and

     accurate   wage statements        in accordance with California law.            In Violation of the California

     Labor Code,     Plaintiff   and class members were not provided complete and accurate wage

     statements.

              32.     Plaintiff is   informed and believes, and thereon alleges, that Defendants knew 0r

     should have     known   that they    had a duty      t0 maintain accurate     and complete payroll records        in


     accordance with the California Labor Code and applicable                     IWC Wage      Order, but willfully,

     knowingly, and intentionally failed to do            so.


              33.     Plaintiff is   informed and believes, and thereon alleges, that Defendants knew 0r

10   should have     known    that Plaintiff      and class members were         entitled t0 timely      payment 0f   all


11   wages earned upon termination of employment.                       In Violation of the California Labor Code,

12   Plaintiff and class   members did not receive payment 0f all wages               due, including, but not limited

13   to,   overtime wages,   minimum wages,         and/or meal and rest period premiums, within permissible

14   time periods.

15            34.     Plaintiff is   informed and believes, and thereon alleges, that Defendants knew 0r

16   should have    known    that Plaintiff     and class members were         entitled to timely   payment 0f wages

17   during their employment. In Violation 0f the California Labor Code, Plaintiff and class                    members

18   did not receive payment of         all   wages, including, but not limited      to,   overtime wages,     minimum

19   wages, and/or meal and      rest period      premiums, Within permissible time periods.

20            35.     Plaintiff is   informed and believes, and thereon alleges, that Defendants knew or

21   should have    known that Plaintiff and class members were               entitled to receive full   reimbursement

22   for all business—related expenses          and costs they incurred during the course and scope 0f their

23   employment and        that they did not receive full           reimbursement 0f applicable business-related

24   expenses and costs incurred.

25            36.     Plaintiff is     informed and believes, and thereon alleges, that             at all   times herein

26   mentioned, Defendants       knew     0r should have        known that they had a duty t0 compensate Plaintiff

27   and class members for       all   hours worked, and that Defendants had the ﬁnancial ability to pay

28   such compensation, but failed t0 do           s0,   and falsely represented     t0 Plaintiff   and class members

                                                                 Page   8

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     that they   were properly denied wages,   all in     order t0 increase Defendants’ proﬁts.

                                     CLASS ACTION ALLEGATIONS
             37.      Plaintiff brings this action   0n   his   own behalf,        as well as     on behalf 0f each and       all


     other persons similarly situated, and thus seeks class certiﬁcation under California                       Code 0f Civil

     Procedure section 382.

             38.      A11 claims alleged herein arise under California law for Which Plaintiff seeks

     relief authorized   by California law.

             39.      Plaintiffs proposed class consists 0f and             is   deﬁned       as follows:


                      A11 persons Who worked for Defendants as non-exempt, hourly
                      paid employees in California Within four years prior t0 the ﬁling
10                    of the initial complaint until the date of trial (“Class”).

11           40.      Plaintiffs proposed subclass consists 0f and                is   deﬁned     as follows:


12                    A11 persons Who worked for Defendants as non-exempt, hourly
                      paid employees in California and who received at least one wage
13                    statement within one (1) year prior t0 the ﬁling of the initial
                      complaint until the date 0f trial (“Subclass”).
14

15           41.      Members 0f the   Class and Subclass are referred t0 herein as “class members.”

16           42.      Plaintiff reserves the right t0           redeﬁne the Class and Subclass and                     to    add

17   additional subclasses as appropriate based            0n further       investigation, discovery,           and speciﬁc

18   theories of liability.


19           43.      There are   common      questions of law and fact as to class                          members         that


20   predominate over questions affecting only individual members, including, but not limited                               t0:


21                    (a)     Whether Defendants required             Plaintiff        and    class   members   to   work over

22                            eight (8) hours per day, over twelve (12) hours per day, 0r over forty (40)


23                            hours per week and             failed    t0        pay    all    legally   required     overtime

24                            compensation to Plaintiff and class members;

25                    (b)     Whether Defendants          failed t0   pay        Plaintiff    and class members        at least


26                            minimum wages     for all hours        worked;

27                    (c)     Whether Defendants          failed to provide Plaintiff             and class members with

28                            meal periods;

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                    (d)     Whether Defendants         failed to authorize            and permit Plaintiff and class

                            members       t0 take rest periods;


                    (6)     Whether Defendants provided             Plaintiff and class     members With complete

                            and accurate wage statements as required by California Labor Code

                            section 226(a);


                    (f)     Whether Defendants maintained accurate payroll records                     as required     by

                            California Labor       Code   section 1174(d);


                    (g)     Whether Defendants          failed to    pay earned overtime wages, minimum

                            wages, and/or meal and rest premiums, due t0 Plaintiff and class members

10                          upon    their discharge;


11                  (h)     Whether Defendants          failed timely to         pay overtime wages, minimum

12                          wages, and/or meal and rest premiums, due t0 Plaintiff and class members

13                          during their employment;

14                  (i)     Whether Defendants         failed t0 reimburse Plaintiff          and class members for

15                          necessary and required business-related expenditures                        and/or losses

16                          incurred by     them   in the scope of their       employment;

17                  (i)     Whether Defendants engaged in unlawful and unfair business                    practices in


18                          Violation of California Business             &   Professions    Code   sections 17200, et


19                          seq.;   and

20                  (k)     The appropriate amount 0f damages,                 restitution, 0r     monetary penalties

21                          resulting     from Defendants’ Violations of California law.

22        44.       There   is   a well-deﬁned     community 0f          interest in the litigation     and the class

23   members   are readily ascertainable:


24                  (a)     Numerosity:        The   class   members         are so    numerous    that joinder   0f   all


25                          members would be         unfeasible and impractical.            The membership 0f the

26                          entire class is    unknown       t0 Plaintiff at this time;       however, the class        is


27                          estimated to be greater than one hundred (100) individuals and the

28                          identity 0f such       membership       is   readily ascertainable       by inspection 0f

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                     Defendants’ employment records.

               (b)   Typicality: Plaintiff is qualiﬁed to, and Will, fairly and adequately protect

                     the interests 0f each class          member With Whom he           has a well-deﬁned

                     community 0f      interest,    and Plaintiffs claims (0r defenses,          if   any) are

                     typical 0f all class   members       as demonstrated herein.


               (C)   Adequacy:      Plaintiff is qualiﬁed to,   and Will,   fairly   and adequately protect

                     the interests 0f each class          member with whom he           has a well-deﬁned

                     community 0f      interest    and typicality 0f claims, as demonstrated herein.

                     Plaintiff   acknowledges      that   he has an obligation t0 make         known    t0 the


10                   Court any relationship, conﬂicts 0r differences with any class member.

11                   Plaintiffs attorneys, the proposed class counsel, are versed in the rules


12                   governing class action discovery, certiﬁcation, and settlement. Plaintiff

13                   has incurred, and throughout the duration of this action, Will continue to

14                   incur costs and attorneys’ fees that have been, are, and Will be necessarily

15                   expended for the prosecution 0f this action for the substantial beneﬁt of

16                   each class member.

17             (d)   Superiority:     The nature 0f        this action   makes     the use 0f class action

18                   adjudication superior to other methods.              A    class action will achieve


19                   economies 0f time,        effort,     and expense as compared with separate

20                   lawsuits,   and Will avoid inconsistent outcomes because the same issues

21                   can be adjudicated in the same manner and            at the   same time   for the entire


22                   class.


23             (6)   Public Policy Considerations:             Employers      in the State     0f California

24                   Violate   employment and labor laws every day.                Current employees are

25                   often afraid t0 assert their rights out of fear 0f direct or indirect retaliation.

26                   Former employees       are fearful of bringing actions because they believe


27                   their    former employers might damage their future endeavors through

28                   negative references and/or other means.             Class actions provide the class

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                                           members who                 are not   named       in the complaint         With a type of anonymity

                                           that allows              for the Vindication 0f their rights while                           simultaneously

                                           protecting their privacy.

                                                                FIRST CAUSE OF ACTION

                        Violation 0f California                    Labor Code §§ 510 and 1198—Unpaid Overtime

                                                                   (Against      all   Defendants)

                   45.         Plaintiff incorporates                by reference and             re-alleges as if fully stated herein each


     and every allegation                 set forth above.


                   46.         Labor Code section 1198 makes                                 it   illegal   t0    employ an employee under

10   conditions 0f labor that are prohibited by the applicable                                        wage       order.    California Labor          Code

11   section 1198 requires that                    “.   .   .   the standard conditions 0f labor                 ﬁxed by        the   commission      shall


12   be the    .    .   .   standard conditions 0f labor for employees. The employment 0f any employee                                                 .   .   .




13   under conditions 0f labor prohibited by the order                                  is   unlawful.”

14                 47.         California Labor                 Code     section 1198 and the applicable              IWC Wage Order provide
15   that   it is       unlawful t0 employ persons Without compensating them                                       at a rate      0f pay either time-

16   and-one-half or two-times that person’s regular rate 0f pay, depending 0n the number 0f hours

17   worked by              the person     0n a daily or weekly               basis.


18                 48.         Speciﬁcally, the applicable                    IWC Wage            Order provides that Defendants are and

19   were required             t0   pay   Plaintiff         and class members working more than eight                            (8) hours in a     day 0r

20   more than              forty (40) hours in a               workweek,        at the rate      of time and one -half           (1   1/2)   for all hours


21   worked        in excess of eight (8) hours in a                       day or more than forty (40) hours in a workweek.

22                 49.         The applicable               IWC Wage         Order further provides that Defendants are and were

23   required t0 pay Plaintiff and class                            members working more than twelve                            (12) hours in a day,

24   overtime compensation                    at a rate            0f two    (2) times their regular rate                 0f pay.      An     employee’s

25   regular rate 0f pay includes                           all   remuneration for employment paid                        to,   0r on behalf 0f, the

26   employee, including nondiscretionary bonuses and incentive pay.

27                 50.         California Labor                   Code   section 510 codiﬁes the right t0 overtime compensation

28   at   one and one-half            (1    1/2)   times the regular rate 0f pay for hours worked in excess 0f eight (8)

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     hours in a day or forty (40) hours in a             week or for the      ﬁrst eight (8) hours   worked on the seventh

     (7th)   day 0f work, and         t0   overtime compensation       at   twice the employee’s regular rate 0f pay for

     hours worked in excess of twelve (12) hours in a day 0r in excess of eight (8) hours in a day on

     the seventh (7th) day of work.


               51.       During the relevant time period, Defendants willfully failed                   t0    pay   all   overtime

     wages owed t0        Plaintiff and class        members. During the relevant time period,           Plaintiff        and Class

     members were not paid overtime premiums                    for all of the hours they       worked    in excess        0f eight

     (8)   hours in a day, in excess 0f twelve (12) hours in a day, and/or in excess 0f forty (40) hours

     in a   week, because       all   hours worked were not recorded.

10             52.       First,   Defendants had a company-wide practice and/or policy of requiring

11   Plaintiff   and    class   members       to   perform work-related tasks While off-the-clock, but prevented

12   them from accounting             for   and recording    this   time in their timekeeping system. For example,

13   Plaintiff   would    report t0        work    prior to the start 0f his scheduled shifts t0 prepare ingredients


14   before the restaurant opened, but was not permitted clock in until his scheduled shift start-time.

15   As     a further example,         0n   his off-days 0r outside         0f his scheduled     shifts, Plaintiff        was   also


16   required t0 respond to communications from Defendants’                        management regarding work-related

17   matters and assignments on his personal cellular phone.                        Thus, Defendants failed t0 track             all


18   hours Plaintiff and class members spent working before clocking in and/or after clocking out,

19   and    Plaintiff   and class members received n0 compensation for                  this time.


20             53.       Second, during the relevant period, Defendants had, and continue t0 have, a

21   company-wide policy and/or                practice of understafﬁng their locations while assigning                      heavy

22   workloads, resulting in a failure to provide Plaintiff and class members with adequate meal

23   period coverage.       As    a result of this lack of meal period coverage, Plaintiff and class                      members

24   were not always afforded uninterrupted 30-minute meal periods during                            shifts   when    they were

25   entitled t0 receive a        meal period. For example,            Plaintiff   was required    to continue       performing

26   his duties, such as preparing food, cleaning the kitchen,                     and stocking ingredients, during his

27   meal periods. Additionally, Defendants, 0n a company-wide                         basis,   had a practice 0f failing         to


28   schedule meal periods, which, in conjunction with the assignment 0f heavy workloads, further

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     caused Plaintiff and class members to not be relieved of their duties for compliant meal periods.

     Thus, Plaintiff and class members missed meal periods to complete their assigned workloads.

     Defendants did not pay Plaintiff and class members for the time they continued t0 perform tasks

     during meal periods.

                 54.      Defendants knew or should have                known        that as a result   0f these company-wide

     practices and/or policies, Plaintiff and class              members were performing their assigned duties                  off-


     the-clock before and/or after their shifts and during meal periods, and were suffered or permitted

     to   perform work for which they were not paid. Defendants also knew, or should have known

     that they did not         compensate Plaintiff and class members applicable overtime                      rates   0f pay for

10   overtime hours that they worked. Because Plaintiff and class members regularly worked                                 shifts


11   of eight     (8)   hours 0r more a day 0r forty (40) hours a week or more, some 0f this off—the-clock

12   work qualiﬁed for overtime premium pay.                   Therefore, Plaintiff and class           members were not paid

13   overtime wages for           all    0f the overtime hours they actually worked.

14               55.      Defendants’ failure t0 pay Plaintiff and class members the balance 0f overtime

15   compensation as required by California law, violates the provisions 0f California Labor Code

16   sections 510 and 1198.                Pursuant t0 California Labor Code section 1194, Plaintiff and class

17   members       are entitled t0 recover their unpaid overtime compensation, as well as interest, costs,


18   and attorneys’       fees.


19                                                SECOND CAUSE OF ACTION
20    Violation 0f California               Labor Code §§ 1182.12, 1194, 1197,                 1197.1,   and 1198—Unpaid

21                                                         Minimum Wages
22                                                    (Against   all   Defendants)

23               56.      Plaintiff incorporates          by reference and       re-alleges as if fully stated herein each


24   and every allegation              set forth above.


25               57.      At     all    relevant times, California Labor              Code   sections 1182.12, 1194, 1197,


26   1197.1, and 1198 provide that the                    minimum wage          for   employees ﬁxed by the        IWC     is   the

27   minimum wage           t0   be paid     to   employees, and the payment 0f a wage less than the              minimum        so

28   ﬁxed   is   unlawful. Compensable               work time   is   deﬁned    in   IWC Wage     Order N0. 10-2001 as “the

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     time during which an employee                  is   subject to the control of an employer, and includes                             all   the

     time the employee              is   suffered 0r permitted t0 work, Whether or not required t0 d0 s0.”                                     Cal.


     Code. Regs.      tit.   8, §     11100(2)(H) (deﬁning “Hours Worked”).

              58.          As    set forth above, as a result               of Defendants’ company-wide policy and/or

     practice of not permitting employees t0 record all 0f their hours worked, Defendants failed to


     record   all   hours worked outside 0f scheduled                      shifts 0r   during meal periods.          Also, as stated

     above, Defendants maintained a policy and/or practice requiring Plaintiff and class                                   members               to


     perform work off-the-clock before and/or                      after the     end of   their shifts.   Furthermore, due t0

     Defendants’ policies and/or practices 0f understafﬁng while assigning heavy workloads, and

10   failure t0 schedule             meal periods,       Plaintiff   and class members were forced                  t0 forego              meal

11   periods, have their            meal periods    interrupted, and/or          were otherwise not relieved 0f                    all   duties


12   during unpaid meal periods.

13            59.          Thus, Defendants did not pay              minimum wages          for all hours   worked by               Plaintiff


14   and   class    members. T0 the extent               that these off-the-clock hours did not qualify for overtime


15   premium payment, Defendants did not pay                    at least      minimum wages         for those hours        worked              off-


16   the-clock in Violation of California Labor                Code        sections 1182.12,   1   194, 1197,   1   197.   1   ,
                                                                                                                                   and 1198.

17            60.          Defendants’ failure t0 pay Plaintiff and class members                     minimum wages                  violates


18   California Labor           Code      sections 1182.12, 1194, 1197, 1197.1, and 1198. Pursuant to California


19   Labor Code section 1194.2,                 Plaintiff    and class members are             entitled to recover liquidated


20   damages       in an   amount equal        t0 the    wages unlawfully unpaid and           interest thereon.


21                                                 THIRD CAUSE OF ACTION
22      Violations 0f California                Labor Code, §§         226.7, 512(3), 516,         and 1198—Meal Period

23                                                             Violations

24                                                      (Against     all   Defendants)

25            61.          Plaintiff incorporates         by reference and        re-alleges as if fully stated herein each


26   and every allegation             set forth above.


27            62.          At   all      relevant times herein set forth, California Labor                Code       section 512(a)

28   provides that an employer               may   not require, cause, 0r permit an employee t0                 work       for a period

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     of more than ﬁve (5) hours per day without providing the employee with a meal period of not

     less than thirty (30) minutes, except that if the total                      work period per day 0f the employee                is   not

     more than       six (6) hours, the      meal period may be waived by mutual consent 0f both the employer

     and the employee. Under California law, ﬁrst meal periods must                                    start after   no more than ﬁve

     hours. Brinker Rest. Corp.              v.   Superior Court, 53 Cal. 4th 1004, 1041-1042 (2012).

               63.       At    all   relevant times herein set forth, California Labor                         Code     sections 226.7,


     5 12(a), 516,     and 1198 provide            that    no employer        shall require   an employee to work during any

     meal period mandated by an applicable order 0f the IWC.

               64.       At   all    relevant times herein set forth, Labor              Code    sections 226.7 and 5 12(a), and


10   the applicable      IWC Wage           Order also require employers to provide a second meal period of not

11   less than thirty (30)           minutes      if   an employee works over ten (10) hours per day 0r t0 pay an

12   employee one        (1) additional        hour 0f pay         at the   employee’s regular         rate,   except that   if the total


13   hours worked        is   n0 more than twelve (12) hours, the second meal period may be waived by

14   mutual consent 0f the employer and the employee only                             if the ﬁrst   meal period was not waived.

15             65.       First, as set forth           above, Defendants had, and continue t0 have, company-wide

16   policies and/or practices of understafﬁng While assigning                               heavy workloads, and                failing to


17   schedule meal periods, Which prevented Plaintiff and class                                 members from             taking timely,

18   uninterrupted thirty (3 0) minute meal periods to which they were entitled.                                     Plaintiff   and class

19   members were forced              t0   work   in excess       0f ﬁve    (5)   hours before taking a meal period, had their

20   meal periods interrupted or shortened, and/or had                            to forgo their   meal periods        altogether.        For

21   example, Plaintiff was required to take his meal periods                           late after     having worked in excess of

22   ﬁve   (5)   hours 0r more into his                shift,   and had     t0 forgo his   meal periods        t0    complete his work

23   duties.     Additionally, Plaintiffs meal periods were cut short and/or interrupted in order t0

24   complete his work duties and/or answer questions from Defendants’ staff and management.

25             66.       Second, Defendants did not provide Plaintiff and class members with second 30-

26   minute meal periods on days that they worked in excess 0f ten (10) hours in one day.                                                 For

27   example, during the relevant time period, Plaintiff worked                            shifts in   excess 0f 10 hours, but was

28   not provided a second meal period. Plaintiff and class                           members did not          sign valid meal period

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     waivers 0n days that they were entitled t0 meal periods and were not relieved of all duties.

                67.       At    all   times herein mentioned, Defendants                knew or should have known that,      as a


     result   0f these policies, Plaintiff and class members were prevented from being relieved of                             all


     duties   and required        to    perform some of their assigned duties during meal periods. Defendants

     further    knew    or should have        known that Defendants              did not pay Plaintiff and class   members     all


     meal period premiums When meal periods were                           late, interrupted,   shortened, 0r missed.

                68.       Moreover, Defendants engaged in a company-Wide practice and/or policy 0f not

     paying     all   meal period premiums owed when compliant meal periods are not provided. Because

     0f this practice and/or policy, Plaintiff and class members have not received premium pay for

10   all   missed,    late,   and interrupted meal periods. As a              result,   Defendants failed t0 provide Plaintiff

11   and    Class   members compliant meal periods                  in Violation   0f California Labor Code sections 226.7,

12   5 12(a),   and 516 and           failed t0   pay the   full   meal period premiums due.

13              69.       Defendants’ conduct violates the applicable                     IWC Wage     Order, and California

14   Labor Code sections 226.7, 512(a), 516, and 1198.                           Plaintiff   and class members are therefore

15   entitled t0 recover          from Defendants one              (1) additional   hour 0f pay    at the   employee’ s regular

16   rate   0f compensation for each work day that the meal period was not provided.

17                                                FOURTH CAUSE OF ACTION
18         Violation 0f California           Labor Code §§           226.7, 516,     and 1198—Rest Period Violations

19                                                    (Against       all   Defendants)

20              70.       Plaintiff incorporates            by reference and       re-alleges as if fully stated herein each


21   and every allegation             set forth above.


22              71.       At    all    relevant times herein set forth, the applicable                IWC Wage       Order and

23   California Labor           Code     sections 226.7, 516, and 1198             were applicable    t0 Plaintiff’s   and   class


24   members’ employment by Defendants.

25              72.       At    all    relevant times, the applicable            IWC Wage       Order provides that “[e]very

26   employer         shall authorize        and permit       all   employees      t0 take rest periods,       which insofar   as


27   practicable shall be in the middle 0f each                     work period” and       that the “rest period time shall be


28   based on the       total   hours worked daily           at the rate    0f ten (10) minutes net     rest   time per four (4)

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     hours 0r maj 0r fraction thereof” unless the         total daily     work time       is less   than three and one -ha1f

     (3   1/2)   hours.

                   73.    At    all   relevant times, California Labor         Code   section 226.7 provides that           n0

     employer        shall require     an employee to work during any rest period mandated by an applicable

     order 0f the California          IWC. T0 comply With     its   obligation to authorize and permit rest periods

     under California Labor Code section 226.7 and the applicable                     IWC Wage         Order, an employer

     must “relinquish any control over how employees spend                        their   break time, and relieve their

     employees 0f         all   duties—including the obligation that an employee remain 0n                    call.    A   rest


     period, in short,      must be a period 0f rest.” Augustus          v.   ABM Security Services, Inc.       ,
                                                                                                                    2 Cal. 5th

10   257, 269-270 (2016). Pursuant to the applicable                IWC Wage       Order and California Labor Code

11   section 226.7(0), Plaintiff and class          members     are entitled t0 recover        from Defendants one         (1)


12   additional hour 0f pay at their regular rates 0f pay for each               work day     that a required rest period


13   was not authorized and permitted.

14                 74.    During the relevant time period, Defendants regularly failed                    t0 authorize     and

15   permit Plaintiff and class members t0 take a ten (10) minute rest period per each four (4) hour

16   period worked 0r major fraction thereof.             As with meal          periods, Defendants’        company-wide

17   policies        and/or practices,      including understafﬁng        and assignment of heavy workloads,

18   prevented Plaintiff and class members from being relieved 0f all duty in order to take compliant

19   rest periods.        Additionally, Defendants failed t0 schedule rest periods, which, coupled with

20   Defendants’ failure t0 provide adequate rest period coverage, further led to Plaintiff and class

21   members not being authorized and permitted             to take compliant rest periods.


22                 75.    Furthermore, Defendants maintained and implemented a company-wide practice

23   and/or policy requiring that Plaintiff and class            members remain 0n            the    work premises during

24   their rest periods.        Because Plaintiff and   class   members were          restricted    from leaving the work

25   premises during rest periods, they were denied the ability t0 use their rest periods freely for their

26   own         purposes, such as running personal errands.            Thus, Defendants effectively maintained

27   control over Plaintiff and class          members during       rest periods, and, as a result       of this rest period

28   policy, Defendants did not relinquish control over Plaintiff                     and class members during             rest


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     periods.


                 76.      As   a result of Defendants’ practices and policies, Plaintiff and class                         members

     worked      shifts in   excess of three and one half (3                 1/2)   hours, in excess of six (6) hours, and/or in

     excess often (1 0) hours without receiving                 all   uninterrupted ten (10) minute rest periods to which

     they were entitled. For example, Plaintiff missed his rest periods in order t0 complete                               all   of the

     work-related duties Defendants’ supervisors assigned to him. Moreover,                                    When he was ﬁnally

     able to take his rest periods, they were cut short because he                         was needed back       in the kitchen.


                 77.      Defendants have also engaged in a company-Wide practice and/or policy of not

     paying      all rest   period premiums          owed when compliant                  rest periods are not authorized          and

10   permitted. Because 0fthis practice and/or policy, Plaintiff and class                            members have not received

11   premium pay         for all     missed     rest periods.     As        a result, Defendants denied Plaintiff and class

12   members rest periods and failed t0 pay them rest period premiums                            due, in Violation 0f California

13   Labor Code sections 226.7 and 516, and the applicable                             IWC Wage       Order.

14               78.      Defendants’ conduct violates the applicable                       IWC Wage       Order and California

15   Labor Code sections 226.7, 516, and 1198.                        Plaintiff       and class members are therefore       entitled


16   to recover        from Defendants one          (1) additional          hour 0f pay      at the   employee’s regular rate 0f

17   compensation for each work day that a compliant                          rest period    was not authorized and permitted.

18                                                FIFTH CAUSE OF ACTION
19   Violation 0f California               Labor Code §§        226(a), 1174(d),           and 1198—N0n-C0mpliant Wage

20                       Statements and Failure t0 Maintain Accurate Payroll Records

21                                                   (Against         all   Defendants)

22               79.      Plaintiff incorporates        by reference and              re-alleges as if fully stated herein each


23   and every allegation            set forth above.


24               80.      At   all    relevant times herein set forth, California Labor                        Code   section 226(a)

25   provides that every employer shall furnish each 0f his or her employees an accurate and

26   complete itemized wage statement in writing, including, but not limited t0, the name and address

27   0f the legal entity that         is   the employer, the inclusive dates of the pay period, total hours worked,

28   and   all   applicable rates 0f pay.

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              81.           During the relevant time period, Defendants have knowingly and intentionally

     provided Plaintiff and Subclass members with uniform, incomplete, and inaccurate wage

     statements. For example, Defendants issued uniform                       wage statements        t0 Plaintiff   and Subclass

     members      that fail to correctly   list:   gross wages earned; total hours worked; net wages earned;

     the   name and     address 0f the legal entity that          is   the employer;   and    all   applicable hourly rates in

     effect during the        pay period, including      rates     0f pay for overtime wages and/or meal and                   rest


     period premiums, and the corresponding number of hours worked                                         at   each hourly   rate.


     Speciﬁcally, Defendants violated sections 226(a)(1), 226(a)(2), 226(a)(5), 226(a)(8), and

     226(a)(9).

10            82.           Because Defendants did not record the time            Plaintiff and Subclass           members    spent

11   working off—the-Clock, Defendants did not              list   the correct    amount of gross wages and net wages

12   earned by Plaintiff and Subclass members, in compliance with sections 226(a)(1) and 226(a)(5),

13   respectively.      For the same reason, Defendants failed                t0 accurately list the total         number 0f the

14   hours worked by Defendants and Subclass members, in Violation of section 226(a)(2), and failed

15   t0 list the applicable hourly rates       0f pay in effect during the pay period and the corresponding

16   accurate   number 0f hours worked         at    each hourly         rate, in Violation   of section 226(a)(9).

17            83.           Moreover, and separate from these Violations, Defendants issued uniform wage

18   statements to Plaintiff and Subclass            members       that failed to correctly list the            name and   address

19   0f the legal entity of the actual employer in Violation of 226(a)(8).                           The purpose of section

20   226(a)(8)      is t0   provide California employees with transparency as to the true identity 0f their

21   employer, t0 allow the employee to contact their employer during employment or in the future

22   for various reasons, including, ﬁling an administrative claim, judicial claim, 0r other action t0


23   seek relief against their employer, t0 obtain unemployment beneﬁts,                            etc.     During the relevant

24   time period, Defendants systematically, and on a company-wide basis, issued wage statements

25   to Plaintiff and Subclass       members       that fail t0   list   the employing entity’s        name and     address. For


26   example, on information and belief, Defendants uniformly failed t0                         list   the employing entity’s


27   name and        address 0n Plaintiff” s and Subclass members’ ﬁnal                       wage     statements, including

28   Plaintiff” s   wage statement dated February           19, 2022.


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              84.        The wage statement deﬁciencies                            also include,      among      other things, failing to      list


     the   number 0f piece-rate              units earned           and any applicable piece           rate if the    employee    is   paid 0n a

     piece-rate basis; failing to                    list all   deductions; failing to       list   the inclusive dates 0f the period for

     Which employees were paid;                        failing to list the       name 0f the employee and only the             last   four digits

     0f his 0r her social security number or an employee identiﬁcation number other than a social

     security number; and/or failing t0 state                            all   hours worked as a result 0f not recording 0r stating

     the hours they      worked         off-the-clock.


              85.        California Labor                   Code    section 1174(d) provides that “[e]very person employing

     labor in this state shall           .   .   .    [k]eep a record showing the             names and addresses of all employees

10   employed and the ages 0f                        all   minors” and “[k]eep,            at a central location in the state 0r at the


11   plants or establishments at                     Which employees are employed, payroll records showing the hours

12   worked      daily   by and the wages paid                     t0,   and the number 0f piece-rate units earned by and any

13   applicable      piece          rate         paid        t0,    employees            employed      at    the     respective       plants    0r

14   establishments.       .   .
                                   .”   At       all   relevant times, and in Violation 0f Labor                     Code    section 1174(d),

15   Defendants willfully failed t0 maintain accurate payroll records for Plaintiff and Subclass

16   members showing               the daily hours they              worked and the wages paid               thereto as a result 0f failing


17   t0 record the off—the-clock hours that they                               worked.

18            86.        California Labor                   Code    section 1198 provides that the                maximum      hours of work

19   and the standard conditions of labor                          shall   be those ﬁxed by the Labor Commissioner and as                      set


20   forth in the applicable            IWC Wage Order.                    Section 1198 further provides that “[t]he employment

21   0f any employees for longer hours than those ﬁxed by the order 0r under conditions of labor

22   prohibited by the order               is    unlawful.” Pursuant t0 the applicable                      IWC Wage        Order, employers

23   are required t0 keep accurate time records                                 showing When the employee begins and ends each

24   work period and meal               period.            During the relevant time period, as                  stated,   Defendants engaged

25   in a   company-wide            practice and/or policy of failing t0 record actual hours                              worked and thereby

26   failed to   keep accurate records of work period and meal period                                   start   and stop times for Plaintiff

27   and Subclass members,                   in Violation           of section 1198.           Furthermore, in light of Defendants’

28   failure t0 provide Plaintiff and Subclass                           members with second 30-minute meal periods                    t0   Which

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     they were entitled, Defendants kept no records of meal                   start   and end times for second meal

     periods.


               87.    Plaintiff     and Subclass members are           entitled to recover      from Defendants the

     greater 0f their actual      damages caused by Defendants’            failure t0   comply with California Labor

     Code   section 226(a), or an aggregate penalty not exceeding four thousand dollars ($4,000) per


     employee.

                                              SIXTH CAUSE OF ACTION
        Violation 0f California         Labor Code §§ 201 and 202—Wages Not Timely Paid Upon

                                                         Termination

10                                              (Against    all   Defendants)

11             88.    Plaintiff incorporates        by reference and      re-alleges as if fully stated herein each


12   and every allegation        set forth above.


13             89.    This cause of action       is   dependent upon, and wholly derivative           of, the     overtime

14   wages,    minimum wages,         and/or meal and rest period premiums that were not timely paid t0

15   Plaintiff   and those class members n0 longer employed by Defendants upon                     their termination.


16             90.    At   all   times relevant herein set forth, Labor Code sections 201 and 202 provide

17   that if   an employer discharges an employee, the wages earned and unpaid                           at the     time 0f

18   discharge are due and payable immediately, and that if an employee voluntarily leaves his or

19   her employment, his or her wages shall            become due and payable not later than seventy -two              (72)

20   hours thereafter, unless the employee has given seventy-two (72) hours previous notice 0f his

21   or her intention to quit, in     Which case the employee        is   entitled to his or her   wages   at the    time 0f

22   quitting.


23             91.    Defendants willfully failed t0 pay Plaintiff and those class members                     Who   are   n0

24   longer employed by Defendants the earned and unpaid wages set forth above, including but not

25   limited t0, overtime wages,        minimum wages,        and/or meal and rest period premiums, either at

26   the time 0f discharge, or within seventy-two (72) hours 0f their leaving Defendants’ employ.


27          92.       Defendants’ failure t0 pay Plaintiff and class members                       who   are   n0 longer

28   employed by Defendants           their   wages earned and unpaid          at the    time of discharge, 0r Within

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     seventy-two (72) hours 0f their leaving Defendants’ employ, violates Labor Code sections 201

     and 202.       Plaintiff    and class members are therefore                      entitled t0 recover    from Defendants the

     statutory penalty         wages     for each   day they were not paid,                at their regular rate     0f pay, up t0 a

     thirty (3 0)   day   maximum pursuant to                 California Labor        Code   section 203.

                                              SEVENTH CAUSE OF ACTION
            Violation 0f California          Labor Code            §   204—Failure         t0   Timely Pay Wages During

                                                                Employment

                                                    (Against           all   Defendants)

              93.         Plaintiff incorporates          by reference and            re-alleges as if fully stated herein each


10   and every allegation            set forth above.


11            94.         This cause 0f action           is   dependent upon, and Wholly derivative                 of, the   overtime

12   wages,    minimum wages,             and/or meal and rest period premiums that were not timely paid t0

13   Plaintiff   and class members during               their    employment.

14            95.         At   all   times relevant herein set forth, Labor Code section 204 provides that                         all


15   wages earned by any person              in   any employment between the ﬁrst                   (lst)   and the ﬁfteenth (15th)

16   days, inclusive, of any calendar month, other than those                              wages due upon termination 0f an

17   employee, are due and payable between the sixteenth (16th) and the twenty-sixth (26th) day of

18   the   month during which the labor was performed. Labor Code                               section   204   further provides that


19   all   wages earned by any person              in   any employment between the sixteenth (16th) and the                       last


20   day, inclusive, of any calendar month, other than those                              wages due upon termination of an

21   employee, are due and payable between the ﬁrst                           (lst)   and the tenth (10th) day of the following

22   month.

23            96.         At   all   times relevant herein, Labor                Code     section   204 provides     that all   wages

24   earned for labor in excess 0f the normal work period shall be paid no later than the payday for

25   the next regular payroll period. Alternatively, at all times relevant herein,                              Labor Code section

26   204 provides     that the requirements             0f this section are deemed satisﬁed by the payment of wages

27   for weekly, biweekly, or             semimonthly payroll                if the   wages are paid not more than seven           (7)


28   calendar days following the close 0f the payroll period.

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               97.      During the relevant time period, Defendants willfully failed                           to   pay   Plaintiff   and

     class   members     all   wages due including, but not limited                    t0,   overtime wages;        minimum wages;

     and/or meal and rest period premiums Within the time periods speciﬁed by California Labor

     Code    section 204.


               98.      Defendants’ failure to pay Plaintiff and class members                           all   wages due       violates


     Labor Code section 204.                  Plaintiff      and class members are therefore           entitled to recover        from

     Defendants the statutory penalty wages pursuant to California Labor Code section 210.

                                                    EIGHTH CAUSE OF ACTION
             Violation 0f California               Labor Code       §    2802—Unpaid Business-Related Expenses

10                                                         (Against   all     Defendants)

11             99.      Plaintiff incorporates               by reference and        re-alleges as if fully stated herein each


12   and every allegation            set forth above.


13             100.     At     all   times herein set forth, California Labor                 Code   section   2802 provides          that


14   an employer must reimburse employees for                           all   necessary expenditures and losses incurred by

15   the   employee    in the    performance 0f his 0r her job. The purpose 0f Labor Code section 2802                                  is



16   to prevent      employers from passing off their cost 0f doing business and operating expenses 0n

17   t0 their employees.             Cochran        v.   Schwan’s   Home        Service, Ina,    228 Cal. App. 4th 1137, 1144

18   (2014).    The applicable wage                order,   IWC Wage Order No.            10-2001, provides     that:   “[W]hen tools

19   0r equipment are required                by the employer or            are necessary t0 the performance 0f a job, such


20   tools   and equipment           shall   be provided and maintained by the employer, except that an employee

21   Whose wages       are at least          two   (2) times the    minimum wage provided            herein    may be      required to

22   provide and maintain hand tools and equipment customarily required by the trade 0r craft.”

23             101.     First,       during the relevant time period, Defendants had a company-Wide policy 0f

24   requiring Plaintiff and class              members        to utilize their     own   personal mobile devices, including,

25   but not limited      t0,        cellular phones, and/or             mobile data t0 carry out their job duties, but

26   Defendants failed to reimburse them for the costs 0f their work-related mobile device expenses.

27   Plaintiff and class       members were required to use                    their personal   mobile devices for work -related

28   tasks, including        responding to               calls or text   messages from Defendants’ management.                        For

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     example, Plaintiff used his personal cellular phone to respond to phone             calls   and   text   messages

     from   his    manager about scheduling       issues   and meetings.     Although Defendants required

     Plaintiff    and class members   to utilize their personal   mobile devices and/or mobile data to carry

     out their work-related duties, Defendants failed to reimburse them for these costs.

             102.      Defendants could have provided Plaintiff and class members with the necessary

     equipment and tools for use 0n the job, such as company mobile devices. Or, Defendants could

     have fully reimbursed employees for the costs 0ftheir mobile device usage. Instead, Defendants

     passed these operating costs off onto Plaintiff and class members. At         all   relevant times, Plaintiff

     did not earn at least two (2) times the    minimum wage.

10           103.      Defendants’ company-Wide policy and/or practice of passing 0n their operating

11   costs to Plaintiff and class    members    violates California   Labor Code section 2802. Defendants

12   have intentionally and willfully failed to reimburse Plaintiff and class members for necessary

13   business—related expenses and costs.

14           104.      Plaintiff   and class members are        entitled to recover      from Defendants          their


15   business—related expenses incurred during the course and scope 0f their employment, plus

16   interest.


17                                       NINTH CAUSE OF ACTION
18                Violation 0f California Business      & Professions Code §§      17200, et seq. —

19                                        Unlawful Business Practices

20                                          (Against    all   Defendants)

21           105.      Plaintiff incorporates   by reference and     re-alleges as if fully stated herein each


22   and every allegation    set forth above.


23           106.      Defendants are “persons” as deﬁned by California Business            & Professions Code
24   sections 17201, as they are corporations, ﬁrms, partnerships, joint stock companies, and/or


25   associations.


26           107.      Defendants’ conduct, as alleged herein, has been, and continues t0 be, unfair,

27   unlawful and harmful t0        Plaintiff, class   members, and    t0 the general public.           Plaintiff has


28   suffered injury in fact and has lost   money as    a result 0f Defendants’ unlawful business practices.

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     Plaintiff seeks to enforce important rights affecting the public interest within the              meaning of

     Code of Civil Procedure   section 1021   .5.



             108.   Defendants’     activities, as alleged herein, are Violations          0f California law, and

     constitute unlawful business acts   and practices in Violation of California Business          & Professions
     Code   sections 17200, et seq.


             109.   A Violation     0f California Business        &   Professions   Code   sections 17200, et seq.


     may be predicated 0n the Violation     0f any   state or federal law.      In the instant case, Defendants’

     policies and practices have violated state     law    in at least the following respects:


                     (a)    Requiring non-exempt, hourly paid employees, including Plaintiff and

10                          class     members,      t0   work overtime         without     paying    them      proper

11                          compensation in Violation 0f California Labor Code sections 510 and

12                          1198, and the applicable           IWC Wage    Order, as alleged herein;

13                   (b)    Failing t0 pay at least       minimum wage        to Plaintiff   and class members in

14                          Violation ofCalifornia Labor          Code    sections 1182.12, 1194, 1197, 1197.1,


15                          and 1198, and the applicable          IWC Wage      Order, as alleged herein;

16                   (C)    Failing to provide uninterrupted meal periods to Plaintiff and class

17                          members     in Violation 0f California         Labor Code sections 226.7, 512(a),

18                          516, and 1198, and the applicable            IWC Wage     Order, as alleged herein;

19                   (d)    Failing to authorize and permit Plaintiff and class                 members     t0 take


20                          uninterrupted rest periods in Violation of California Labor             Code    sections

21                          226.7, 516, and 1198, and the applicable                IWC Wage    Order, as alleged

22                          herein;


23                   (6)    Failing t0 provide Plaintiff and class              members With        accurate    wage

24                          statements and failing to maintain accurate payroll records in Violation of

25                          California Labor        Code       sections 226(a),     1174(d), and 1198, and the

26                          applicable   IWC Wage         Order, as alleged herein;

27                   (f)    Failing t0 timely pay        all   earned wages to Plaintiff and class members in

28                          Violation of California Labor          Code   section 204, as alleged herein; and

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                             (g)      Failing to reimburse Plaintiff and class             members      for all business expenses


                                      necessarily incurred in Violation 0f California Labor                 Code   sections 2802,


                                      as alleged herein.


              110.           As    a result 0f the Violations 0f California law herein described, Defendants

     unlawfully gained an unfair advantage over other businesses. Plaintiff and class members have

     suffered pecuniary loss           by Defendants’ unlawful business                 acts   and practices alleged herein.

              111.           Pursuant to California Business              &    Professions      Code    sections 17200, et seq.,

     Plaintiff    and class members are          entitled to restitution             0f the wages withheld and retained by

     Defendants during a period that commences four years prior t0 the ﬁling 0f this complaint; a

10   permanent injunction requiring Defendants                      to   pay   all   outstanding wages due to Plaintiff and

11   class   members; and an award 0f attorneys’               fees pursuant t0 California              Code 0f Civil Procedure

12   section 1021       .5   and other applicable laws; and an award 0f costs.

13                                             TENTH CAUSE OF ACTION
14                 Violation 0f California Business             & Professions Code §§                  17200, et seq. —

15                                                Unfair Business Practices

16                                                 (Against     all      Defendants)

17            112.           Plaintiff incorporates      by reference and            re-alleges as if fully stated herein each


18   and every allegation            set forth above.


19            113.           Defendants are “persons” as deﬁned by California Business                      & Professions Code
20   section 17201, as they are corporations, ﬁrms, partnerships, joint stock companies, and/or

21   associations.


22            1   14.        Defendants’ conduct, as alleged herein, has been, and continues t0 be, unfair, and

23   harmful t0     Plaintiff, class      members, and       t0 the general public.             Plaintiff has suffered injury in


24   fact   and has     lost   money    as a result 0f Defendants’ unfair business practices.                  Plaintiff seeks t0


25   enforce important rights affecting the public interest within the meaning of                                  Code of   Civil


26   Procedure section 1021.5.

27            115.           Defendants’   activities,   namely Defendants’ company-Wide practice and/or policy

28   of not paying Plaintiff and class members                all   meal and         rest period   premiums due    t0   them under

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     California Labor      Code   section 226.7, deprived Plaintiff and class           members ofthe compensation

     guarantee and enhanced enforcement implemented by section 226.7.                               The   statutory   remedy

     provided by section 226.7          is   a “‘dual-purpose’        remedy intended primarily              t0   compensate

     employees, and secondarily t0 shape employer conduct.” Safeway, Inc.                          v.   Superior Court, 238

     Cal.   App. 4th 1138, 1149 (2015). The statutory beneﬁts of section 226.7 were guaranteed                              t0


     Plaintiff and class    members    as part 0f their   employment with Defendants, and thus Defendants’

     practice and/or policy of denying these statutory beneﬁts constitutes an unfair business practice

     in Violation    of California Business     & Professions Code sections             17200, et seq.      (1d,)


              116.      A Violation   0f California Business          &   Professions   Code       sections 17200, et seq.


10   may be predicated 0n any unfair business practice.               In the instant case, Defendants’ policies and


11   practices have violated the spirit 0f California’s           meal and       rest period   laws and constitute acts

12   against the public policy behind these laws.

13            117.      Pursuant t0 California Business           &   Professions     Code     sections 17200, et seq.,


14   Plaintiff     and class members are      entitled t0 restitution for the Class-Wide loss               of the statutory

15   beneﬁts implemented by California Labor Code section 226.7 withheld and retained by

16   Defendants during a period that commences four years prior t0 the ﬁling 0f                           this complaint; a


17   permanent injunction requiring Defendants               t0   pay      all   statutory benefits        implemented by

18   California Labor      Code   section 226.7 due t0 Plaintiff and class          members; an award 0f attorneys’

19   fees pursuant to California      Code of Civil Procedure             section 1021.5 and other applicable laws;

20   and an award 0f costs.

21                                           REQUEST FOR JURY TRIAL
22            Plaintiff requests a trial     by jury.

23                                              PRAYER FOR RELIEF
24            Plaintiff,   on behalf of all others similarly      situated, prays for relief        and judgment against

25   Defendants, jointly and severally, as follows:

26            1.        For damages, unpaid wages, penalties, injunctive                 relief,   and attorneys’ fees      in


27   excess of twenty-ﬁve thousand dollars ($25,000), exclusive 0f interest and costs.                                Plaintiff


28   reserves the right t0    amend   his prayer for relief t0 seek a different          amount.

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                                                          Class Certiﬁcation

                 2.          That   this case   be certiﬁed as a class action;

                 3.          That Plaintiff be appointed as the representative 0f the Class and Subclass;

                 4.          That counsel for Plaintiff be appointed as class counsel.

                                                  As   t0 the First      Cause 0f Action

                 5.          That the Court declare, adjudge, and decree that Defendants violated California

     Labor Code sections 510 and 1198, and the applicable                         IWC Wage        Order by willfully   failing to


     pay   all   overtime wages due t0 Plaintiff and class members;

                 6.          For general unpaid wages             at   overtime wage rates and such general and special

10   damages          as   may be   appropriate;

11               7.          For pre-judgment         interest    on any unpaid overtime compensation commencing

12   from the date such amounts were due, 0r                     as otherwise provided       by law;

13               8.          For reasonable attorneys’ fees and for costs 0f                suit incurred herein    pursuant t0

14   California Labor          Code    section 1194(a); and


15               9.          For such other and further relief as the Court                        may deem     equitable    and

16   appropriate.


17                                               As   t0 the   Second Cause 0f Action

18               10.         That the Court declare, adjudge and decree that Defendants violated California

19   Labor Code sections 1182.12, 1194, 1197, 1197.1, and 1198, and the applicable                                  IWC Wage
20   Order by willfully          failing t0     pay minimum wages           to Plaintiff   and   class   members;

21               11.         For general unpaid wages and such general and special damages as                           may be

22   appropriate;

23               12.         For pre-judgment          interest    on any unpaid compensation from the date such

24   amounts were due, 0r             as otherwise provided            by law;

25               13.         For reasonable attorneys’ fees and for costs 0f                suit incurred herein    pursuant t0

26   California Labor          Code    section 1194(a);

27               14.         For liquidated damages pursuant              t0 California    Labor Code section 1194.2; and

28               15.         For such other and further relief as the Court                        may deem     equitable    and

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     appropriate.

                                            As    t0 the    Third Cause 0f Action

              16.       That the Court declare, adjudge, and decree that Defendants violated California

     Labor Code sections 226.7, 512(a), 516, and 1198, and the applicable                       IWC Wage     Order by

     willfully failing to provide all       meal periods       t0 Plaintiff   and class members;

              17.       That the Court make an award t0 the Plaintiff and class members 0f one                (1)   hour

     0f pay   at   each employee’s regular rate 0f pay for each workday that a meal period was not

     provided;

              18.       For   all actual,   consequential, and incidental losses and damages, according t0

10   proof;

11            19.       For premiums pursuant          t0 California   Labor Code section 226.7(0);

12            20.       For pre-judgment         interest    0n any unpaid meal period premiums from the date

13   such amounts were due, or as otherwise provided by law;

14            21.       For attorneys’ fees pursuant             t0 California    Code 0f   Civil Procedure section


15   1021.5, 0r as otherwise provided            by law; and

16            22.       For such other and further relief as the Court                    may deem      equitable   and

17   appropriate.


18                                          As   t0 the    Fourth Cause 0f Action

19            23.       That the Court declare, adjudge and decree that Defendants violated California

20   Labor Code sections 226.7, 516, and 1198, and the applicable                     IWC Wage     Order by willfully

21   failing to authorize     and permit Plaintiff and class members             to take all rest periods;


22            24.       That the Court make an award t0 the Plaintiff and class members 0f one                (1)   hour

23   0f pay   at    each employee’s regular rate 0f pay for each workday that a rest period was not

24   authorized and permitted;

25            25.       For   all actual,   consequential, and incidental losses and damages, according t0

26   proof;

27            26.       For premiums pursuant          t0 California   Labor Code section 226.7(c);

28            27.       For pre-judgment         interest   0n any unpaid rest period premiums from the date such

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     amounts were due, 0r as otherwise provided by law;

               28.    For attorneys’ fees pursuant              t0 California       Code 0f   Civil Procedure section


     1021.5, or as otherwise provided         by law; and

               29.    For such other and further relief as the Court                      may deem      equitable   and

     appropriate.


                                           As   t0 the Fifth     Cause 0f Action

               30.     That the Court declare, adjudge and decree that Defendants violated the

     recordkeeping provisions 0f California Labor Code section 226(a) and the applicable                            IWC
     Wage Order as     t0 Plaintiff   and class members, and willfully failed            t0 provide accurate itemized


10   wage     statements thereto;

11             31.    For    all actual,   consequential, and incidental losses and damages, according t0

12   proof;

13             32.    For injunctive relief pursuant to California Labor Code section 226(h);

14             33.    For statutory penalties pursuant to California Labor Code section 226(6);

15             34.    For attorneys’ fees and costs pursuant                   t0    California Labor   Code   section

16   226(c)(1); and

17             35.    For such other and further relief as the Court                      may deem      equitable   and

18   appropriate.


19                                         As   t0 the Sixth     Cause 0f Action

20             36.     That the Court declare, adjudge and decree that Defendants violated California

21   Labor Code sections 201 and 202 by willfully                failing t0   pay overtime wages, minimum wages,

22   and/or meal and rest period premiums             owed      at the    time 0f termination of the employment 0f

23   Plaintiff   and other terminated class members;

24             37.    For    all actual,   consequential and incidental losses and damages, according t0

25   proof;

26             38.    For waiting time penalties according t0 proof pursuant t0 California Labor Code

27   section 203 for   all   employees     who have     left   Defendants’ employ;

28             39.    For pre-judgment       interest   0n any unpaid wages from the date such amounts were

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     due, or as otherwise provided      by law;

              40.   For attorneys’ fees pursuant             t0 California    Code 0f      Civil Procedure section


     1021.5, or as otherwise provided        by law; and

              41.   For such other and further relief as the Court                       may deem       equitable   and

     appropriate.


                                        As   t0 the   Seventh Cause 0f Action

              42.   That the Court declare, adjudge and decree that Defendants violated California

     Labor Code section 204 by willfully         failing to timely    pay   Plaintiff   and class members overtime

     wages,   minimum wages,     and/or meal and rest period premiums during their employment;

10            43.   For   all actual,   consequential and incidental losses and damages, according t0

11   proof;

12            44.   For statutory penalties according t0 proof pursuant                  t0 California   Labor Code

13   section 210;

14            45.   For pre-judgment         interest   0n any unpaid wages from the date such amounts were

15   due, 0r as otherwise provided      by law;

16            46.   For attorneys’ fees pursuant             t0 California    Code 0f      Civil Procedure section


17   1021.5, or as otherwise provided        by law; and

18            47.   For such other and further relief as the Court                       may deem      equitable    and

19   appropriate.


20                                      As   t0 the     Eighth Cause 0f Action

21            48.   That the Court declare, adjudge and decree that Defendants violated California

22   Labor Code section 2802 by willfully         failing t0 reimburse and/or      indemnify    all   business-related

23   expenses and costs incurred by Plaintiff and class members;

24            49.   For unpaid business—related expenses and such general and special damages as

25   may be   appropriate;

26            50.   For pre-judgment         interest   0n any unpaid business-related expenses from the date

27   such amounts were due, or as otherwise provided by law;

28            51.   For   all actual,   consequential, and incidental losses and damages, according t0

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     proof;

                52.       For attorneys’ fees and costs pursuant t0 California Labor Code section 2802(0),

     0r as otherwise provided          by law; and

                53.       For such other and further relief as the Court                   may deem        equitable   and

     appropriate.


                                            As    t0 the   Ninth Cause 0f Action

                54.       That the Court declare, adjudge and decree that Defendants’ conduct 0f failing

     to provide Plaintiff           and class members      all    overtime wages due t0 them, failing t0 provide

     Plaintiff    and    class   members   all   minimum wages due           t0 them, failing t0 provide Plaintiff     and

10   class   members       all   meal periods,   failing t0 authorize       and permit Plaintiff and class members      t0


11   take    all rest   periods, failing to provide Plaintiff and class         members   accurate and complete    wage

12   statements, failing to maintain accurate payroll records for Plaintiff and class                  members,   failing


13   to timely    pay     Plaintiff   and class members     all   earned wages during employment, and failing t0

14   reimburse Plaintiff and class members for business-related expenses, constitutes an unlawful

15   business practice in Violation of California Business and Professions                   Code    sections 17200, et


16   seq.;


17              55.       For restitution of unpaid wages t0 Plaintiff and                   all   Class   members and

18   prejudgment         interest   from the day such amounts were due and payable;

19              56.       For the appointment of a receiver t0 receive, manage and distribute any and                  all


20   funds disgorged from Defendants and determined to have been wrongfully acquired by

21   Defendants as a result of Violations 0f California Business                 & Professions Code sections      17200,

22   et seq.;


23              57.       For reasonable attorneys’ fees and costs 0f               suit incurred herein     pursuant t0

24   California       Code 0f Civil Procedure       section 1021.5; and

25              58.       For such other and further relief as the Court                   may deem        equitable   and

26   appropriate.


27                                          As    t0 the   Tenth Cause 0f Action

28              59.       That the Court declare, adjudge and decree that Defendants’ conduct 0f denying

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     Plaintiff   and class members the statutory beneﬁts guaranteed under California Labor Code

     section 226.7 constitutes an unfair business practice in Violation 0f California Business and

     Professions       Code   sections 17200, et seq;


                60.      For restitution of the statutory beneﬁts under California Labor Code section

     226.7 unfairly withheld from Plaintiff and class members and prejudgment interest from the day

     such amounts were due and payable;

                61.      For the appointment of a receiver to receive, manage and distribute any and              all


     funds disgorged from Defendants and determined to have been wrongfully acquired by

     Defendants as a result 0f Violations 0f California Business               & Professions Code sections   17200,

10   et seq.;


11              62.      For reasonable attorneys’ fees and costs 0f              suit incurred herein   pursuant t0

12   California       Code 0f Civil Procedure   section 1021.5;

13              63.      For pre-judgment and post-judgment             interest as   provided by law; and

14              64.      For such other and further relief as the Court                   may deem    equitable   and

15   appropriate.


16

17   Dated: April 25, 2021                                    Respectfully submitted,

18                                                            Capstone      Law APC
19

20                                                      By:      gﬁwé’
                                                              B‘éﬁn Allen Pike
21
                                                              Daniel S. Jonathan
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22
                                                              Attorneys for Plaintiff Taylor Kennedy
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